
PER CURIAM.
By petition for a writ of certiorari and cross-petition we have for review an order of the Florida Industrial Commission bearing date April 20,1967.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the cross-petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied. The cross-petition is also denied. The Petition for attorneys’ fees filed by Petitioner Copeland is granted in the sum of $250.00 for successful defense against the cross-petition.
CALDWELL, C. J., and ROBERTS, THORNAL, ERVIN and ADAMS, JJ., concur.
